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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION


 EPIC GAMES, INC.,                                    Case No. 4:20-cv-05640-YGR-TSH
                   Plaintiff, Counter-defendant,
                        v.
 APPLE INC.,                                          OBJECTIONS TO SPECIAL MASTER
                   Defendant, Counterclaimant.        DETERMINATIONS REGARDING
                                                      REDACTED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”) and the Order Amending the Protocol to extend the time
for Epic to object to determinations regarding redacted documents (Dkt. 1352), Epic respectfully
submits the following objections to certain of the Special Masters’ privilege determinations
pertaining to documents that were produced to Epic in redacted form on May 3, 2025.
        Epic recognizes the significant burden of these objections and is sensitive to the Court’s
observation regarding the diminishing utility of similar or duplicative documents following the
completion of the evidentiary hearing. Epic is therefore limiting its objections below to
documents that it believes may meaningfully supplement the already extensive record
established at the hearings and reflected in the Court’s April 30 Order (Dkt. 1508, the “Order”).
         Epic of course cannot “see underneath” the redactions and therefore is unable to fully
assess the utility and privileged nature of the redacted text; however, Epic has, to the best of its
ability, focused these challenges on the documents with privilege log entries and surrounding
context to support an inference of utility and an improper assertion of privilege.
         Epic respectfully requests that the Court review the following documents in camera and,
where appropriate, reject Apple’s privilege assertions pertaining to these documents, in whole or
in part.
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Emails Among Legal and Non-legal Professionals

                PRIV-APL-EG_00199145 is an email chain among primarily non-legal Apple
employees and Apple in-house counsel Sean Cameron and Kyle Andeer. In its privilege log,
Apple claims privilege on the basis that the redacted text “provid[es] information for the purpose
of obtaining legal advice”, citing Messrs. Andeer and Cameron, and in-house counsel Curtis Box
(who is not copied in the emails) as the attorneys involved. (Privilege Log Entry No. 4921.) In
recognition of the fact that some of the foregoing attorneys’ emails may be privileged, Epic only
challenges Apple’s redaction of Phil Schiller’s email dated March 1, 2023; from the limited
information visible, it appears that Mr. Schiller, a non-legal business executive, offers “quick
observations” on “draft slides” relative to a “DMA Meeting” that, based on the email addresses
available, likely included many non-legal business professionals. (PRIV-APL-EG_00199145, at
‘147-148.) It thus appears unlikely that Mr. Schiller’s “observations” are privileged—there is
no indication from the unredacted text that such email either solicits legal advice or discloses the
contents of legal advice.

                PRIV-APL-EG_00200170 is an email from Timo Kim, a non-legal business
professional, to multiple non-legal and legal Apple employees in which Mr. Kim comments on
what appears to be the agenda for a scheduled meeting titled “Art 5.4/5.7 Linking out -
commission Cont’d”. (PRIV-APL-EG_00200170.) Apple has redacted most of Mr. Kim’s brief
email, claiming in its privilege log that the email “reflect[s] legal advice from counsel regarding
injunction compliance” and “set[s] out proposed legal compliance topics”. (Privilege Log Entry
No. 5081.) However, the fact that Mr. Kim’s email may address “proposed legal compliance
topics” for a forthcoming meeting (which includes many non-legal Apple employees) does not
confer privilege upon his email (see Dkt. 1056 at 1); unless Mr. Kim’s email discloses the
contents of legal advice or solicits such advice, it is not privileged, and the context here (a brief
email on top of a meeting invitation) suggests that the redacted text includes neither. Therefore,
the document appears to be over redacted based on the visible information.

Messages Among Primarily Non-legal Professionals
               PRIV-APL-EG_00202318 is a series of messages in a private channel among
primarily engineers and other non-legal technical employees. Apple has completely redacted
one or more messages in a thread initiated by non-lawyer Liz Pulchny, which addresses
“[a]lignment on new entitlements/APIs”. (PRIV-APL-EG_00202318.) Apple claims that the
redacted text “reflect[s] legal advice from counsel”, and cites Ling Lew and Sean Dillon as the
in-house attorneys involved. (Privilege Log Entry No. 5334.) However, the visible information
does not suggest that either Ms. Lew or Mr. Dillon are participants in this message chain, nor
does it suggest that any participants have sought legal advice or that legal advice is discernible
from the face of the messages; rather, the available messages primarily address project launch
dates and the implementation of external purchase link entitlements—business-related topics that
generally are not privileged. Accordingly, it appears that the document is over redacted.

               PRIV-APL-EG_00202371 is a direct message thread among Ann Thai, Carson
Oliver, Latika Kirtane, and Timothy Kim—all non-legal Apple employees. Apple has redacted
two messages from Ms. Kirtane (one of which appears to share content from non-lawyer
Geoffrey De Wilde), claiming that the “redacted text reflect[s] work product” for a “slide deck

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on alternative payments” and that the “document indicates [that] Apple legal weighed in on
document”. (Privilege Log Entry No. 5339.) But the mere fact that Apple legal has “weighed in
on” a document cannot sustain a claim of privilege over a related message unless the message
itself discloses the contents of legal advice or solicits legal advice, and the visible messages
suggest that the discussion is focused on non-legal topics such as the App Store’s business
model. Moreover, there is scant indication from either the unredacted messages or Apple’s
privilege log entry that the redacted text was “prepared in anticipation or furtherance of
litigation”. Id. Thus, it appears that the document is over redacted.


 DATED: May 8, 2025                                CRAVATH, SWAINE & MOORE LLP
                                                   By: /s/ Yonatan Even
                                                   Counsel for Plaintiff Epic Games, Inc.




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